CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 Pg 1 Of 46

Fi|| in this information to identify your case:

Johnny Darrell l_orick

First Name Middle Neme Last Name

Debtor 1

 

Debtor 2
(SpOuSe, if ming) First Narne Middle Name Lasl Name

 

Uniled States Bankruptcy Court for thef SOuthe|'n DiSfriCi Of indiana

casenumber 19~00252~JJe-13 ` ' Echeci<inhisisan
‘"k"°W"’ amended filing

 

Official Form 1063um
Summary of Your Assets and Liabilities and Certain Statistical |nformation 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. |f you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

 

 

Your assets
Value of what you own

i 1. schedu/e A/B,-Propeny(cfriciai Form iosA/B)

1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................ $ MQ-Q--

 

, 1b. Copy line 62, Total personal property, from Schedu/e A/B ............................................................................................. $ 72,318.00
1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................

$441,718.00

 

 

 

 

m Summarize Your Liabilities

Your liabilities
Amount you owe

y 2. Schedu/e D.' Cred/'tors th> Have C/aims Secured by Property (Official Form 1060)

 

 

 

 

 

 

2a Copy the total you listed in Column A, Amount ofc/a/m, at the bottom of the last page of Pait 1 of Schedule D ............ $§2_5-1§-1~§'_1_7____ §
; 3. Schedu/e E/F.' Creditors Who Have Unsecured C/aims (Official Form 106E/F) 3 590 33

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6a of Schedu/e E/F ........................................... $ ’ '

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 61 of Schedu/e E/F ....................................... + $25,900.07
Your total liabilities $255,006.57
msummarlze Your lncome and Expenses
4. Schedu/e /.' Your/ncome (Official Form 106|) 6 807 06
y Copy your combined monthly income from line 12 of Schedule l ........................................................................................ $ -’-_-`--~_--
§ 5. Schedu/e J: Your Expenses (Official Form 106J) l

Copy your monthly expenses from line 220 of Schedu/e J .................................................................................................. $A._‘.’.Z_Q_Q_'QQ_______

 

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 1 Of2

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 Pg 2 Of 46

Johnny Darrell Lorick 19-00252-JJG~13
Debtor 1 Case number (i/known)
Firsl Name Midd|e Name Last Name

mAnswer These Ouestions for Administrative and Statistica| Records

t 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

a No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Yes

 

: 7. What kind of debt do you have?

Your debts are primarily consumer debts, Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fi|l out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

m Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

 

g 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
l Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14. $

 

10,236.49

 

 

 

tr 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim

From Part 4 on Schedule E/F, copy the following:

 

_ _ , _ 0.00

9a. Domestic support obligations (Copy line 6a.) $
. _ 3,590.33

9b. Taxes and certain other debts you owe the government (Copy line 6b.) $
. . . . . . . 0.00

90. Claims for death or personal injury While you were intoxicated (Copy line 60.) $
13,01 1 .00

9d. Student loans. (Copy line 6f.) $
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ O~OO

priority claims. (Copy line 69.)

. . . . . _ 0.00

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $

99. Total. Add lines 9a through 9\‘. $ 16’601 '33

 

 

 

 

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical lnformation page 2 of 2

 

CaSe 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15:43:47 Pg 3 of 46
Fill in this information to identify your case and this tiling:

Johnny Darrell Lorick
Firsi Name Middle Nama Last Name

Debtor 1

Debtor 2
(Spouse. it filing) Firsi Name Midoio Namo Last Name

 

United States Bankruptcy Court lor the: Southem District of indiana

Case number 19'00252-~)»!6-13

l`_'] check ii this is an
amended filing

 

 

Ofticial Form lOGA/B
Schedule A/B: Property 12/15

ln each category, separately list and describe items. List an asset only once. lt an asset fits in more than one category, list the asset in the
category where you think it tits best. Be as complete and accurate as possible. lt two married people are filing together, both are equally
responsible for supplying correct intormation. lt more space is needed, attach a separate sheet to this form. 0n the top of any additional pages,
write your name and case number (if known). Answer every question.

 

m Describe Each Residence, Bui|ding, Land, or Other Real Estate You OWn or Have an lnterest ln

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

m No. Go to Part 2.

Yes. Where is the ro ert '? -
p p y What ls the property? Check all that app!y' Do not deduct secured claims or exemptionsl Put

Single-family home the amount ol any secured claims on Schedule D:

6445 Harrison Rid e Blvd. ' ' ;
1.1. 9 [:] Dup|ex or multi_unn building Cred/tors Who Have C/a/ms Secured by Property

Street address, it available, or other description

 

 

 

 

 

 

 

 

 

 

m Condominium or cooperative Current value of the Current value ot the
E] Manutactured or mobile home entire property? portion you own?
m Land $ 369,400.00 $ 369,400.00
Il'ldianapolis iN 46236 m mvvestmem property Describe the nature ot your ownership
C;;y grate Z|p Code E-] T'me$ha'e interest (such as fee simple, tenancy by
I:l Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one. Fee S'mp|e
Marion County -Debtor 1 only l:]Check if this is community property
County m Debtor 2 only
[:]Debtor 1 and Debtor 2 only
l:]At least one ot the debtors and another
Other information you wish to add about this item, such as local
property identification number:
4 bedroom, 4.5 bathroom, 2 tloors.
Purchased in 2001 tor $372,131.06
n you Own or have more than ane' list here: What is the property? Check an that apply' Do not deduct secured claims or exemptions Put
CJ Single-family home the amount of any secured claims on Schedule D:
1_2, Du lex or mum_unit bundm Creditors Who Have C/ai'ms Secured by Properry.
Street address, it available, or other description p _ _ 'g o
COndOm'mUm Or COOP€'SUV€ Current value of the Current value ot the
cl |\/lanutactured or mobile home entire property? portion you own?
cl Land $ $
m lnvestment property
my State z,p Code Timeshar€ Pescribe the nature of_your ownership
U Other interest (such as tee simp|e, tenancy by

 

_ the entireties, or a life estate), it known.
Who has an interest in the property? Check one.
UDebtor 1 only
EDebtor 2 only
121 oebior 1 and oobior 2 only l_:]check it this is community property

L_..]At least one ot the debtors and another (See instructions)

 

 

County

Other information you wish to add about this item, such as local
property identification number:

page 1 of _19_

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Street address, it available, or other description

 

 

City State ZlP Code

 

County

2. Add the dollar value ot the portion you own for all ot your entries from Part 1, including any entries for pages

you have attached for Part 1. Write that number here. ...................................................................................... -)

m Describe Your Vehicles

What is the property? Check all that apply.
E] Single-tamily home

m Duplex or multi-unit building

m Condominium or cooperative

m l\/lanufactured or mobile home

m Land

m investment property

m Timeshare

m Other
Who has an interest in the property? Check one.

I:] Debtor 1 only

EDebtor 2 only

EDebtor 1 and Debtor 2 only

EAt least one of the debtors and another

 

Do not deduct secured claims or exemptions F’ut

the amount ot any secured claims on Schedule D.'
Creditors Who Have C/aims Secured by Property. ‘
Current value of the Current value of the t
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simp|e, tenancy by
the entireties, or a lite estate), if known.

 

I:] Check if this is community property

(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

$ 369,400.00

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. lt you lease a vehicle, also report it on Schedule G.' Executory Contracts and Unexp/'red Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

m No

Yes

3_1_ Make; Chevrolet
|V|ode|: Camaro
Year: 1991
Approximate mileage: 641527

Other lntormation:
iCondition: Very Good

 

lt you own or have more than one, describe here:
3,2, l\/lake:

Mode|:

Year:

Approximate mileage:

Other information:

 

 

 

Who has an interest in the property? Check one.

-Debtor 1 only

l:| Debtor 2 only

l:] Debtor 1 and Debtor 2 only

mAt least one of the debtors and another

i:]Check it this is community property (see
instructions)

Who has an interest in the property? Check one.

mDebtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

[:|At least one ot the debtors and another

mcheck it this is community property (see
instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property
Current value of the Current value ot the
entire property? portion you own?

$ 2,500.00 $ 2,500.00

Do not deduct secured claims or exemptions. Put
the amount ot any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property

Current value of the
portion you own?

Current value of the
entire property?

page i_ of 19

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l\/lake:
li/lodel:

Year:
Approximate mileage:

Other information:

 

1

 

Make:
Modei:

Year:
Approximate mileage:

Other information:

 

i
1
i
§
i

 

 

Who has an interest in the property? Check one.

Debtori only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

instructions)

Who has an interest in the property? Check one.

111 Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
At least one of the debtors and another

1__1Check it this is community property (see
instructions)

Do not deduct secured claims or exemptions Put

the amount ot any secured claims on Schedule D:

Creditors Who Ha ve Claims Secured by property

Current value ot the Current value of the

entire property? portion you own?

Do not deduct secured claims or exemptions Put

the amount ot any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

Current value ot the Current value of the

entire property? portion you own?

Watercratt, aircratt, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examp/es: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobi|es, motorcycle accessories

2 No

11 Yes

4_1. i\/lake:
i\/lodel:

Year:

 

Other intorrnation:

 

it you own or have more than one, list here:
4_2_ Make:

i\/lodel:

Year:

Other information;

 

 

 

5. Add the dollar value of the portion you own for all ot your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ...............................

 

Who has an interest in the property? Check one.

1,,1Debtor 1 only
1_,,,,1Debtor 2 only
l

1_,»,.‘Debtor 1 and Debtor 2 only
`1At least one of the debtors and another

:1Check if this is community property (see
insiructions)

Who has an interest in the property? Check one.

111 Debtor 1 only

L1 Del:)tor 2 only

111f Debtor 1 and Debtor 2 only

1,,1At least one of the debtors and another

,_,,,1Check if this is community property (see
insiructions)

Do not deduct secured claims or exemptionsl Put

the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

entire property? portion you own?

Do not deduct secured claims or exemptions Put

the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

entire property? portion you own?

 

 

$ 2,500.00

 

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10

 

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m Describe Your Personal and Household items

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Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings

Examp/es: l\/lajor appliances furniture, linens, china, kltchenware
m NO §Household goods

Yes. Describe .......

 

Current value ot the
portion you own?

Do not deduct secured claims §
or exemptions

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ 8,335.00
7. E|ectronics
Examp/es.' Teievlsions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
g No Televisions, DVDs, Radios, Projector, Cornputers & Tab|ets, Printer, Record Player & A|bums, Cel|
-Yes. Describe ......... Phones’ DVD P|ayers $ 21540-00
8. Collectib|es of value
Examp/es:Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectib|es
Ij NO Statues, Asian Figurines (1 antique), Asian Art, Asian Screens, African Masks, African Figures,
Yes_ Describe _________ African Dolls, African Art, Buffalo Soldier Collectibles, Original Artwork $ 1(),()()()_00
9. Equipment for sports and hobbies
Examp/es.' Sports, photographic exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
No §
m Yes. Describe..... $ 0.00
i
z
1O.Firearms
Examp/es.' Pisto|s, rifles, shotguns, ammunition, and related equipment
No §
ij Yes. Describe.,........: $ O-OO
lt.Clothes
Examples.' Everyday clothes, furs, leather coats, designer wear, shoes, accessories
E] NO :Clothing
Yes. Describe .......... § $ 200'00
12.Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, helr|oom jewelry, watches, gems,
go|d, silver
No §
§ Yes. Describe. ......... $ 0.00
13. Non-farm animals
Examp/es: Dogs, cats, birds, horses
No t
§ Yes. Describe .......... § $ O'OO
14. Any other personal andwhous items you did not already |ist, including any health aids you did notwlist
No
13 Yes, Give specific $ 0.00
information ...............
15. Add the dollar value of all of your entries from Fart 3, including any entries for pages you have attached $ 21 ,075.00

ior Part 3. Write that number here ........................................................................................................................................................ 9

 

 

 

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mDescribe Your Financial Assets

 

Do you own or have any legal or equitable interest in any ot the following?

Current value of the
portion you own?
Do not deduct secured claims ~T

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions
16, Cash
Examp/es: l\/loney you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
l:] No
Yes ..................................................................................................................................................................... Cash: $ 10_()()
17. Deposits of money
Examp/es.' Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. li you have multiple accounts with the same institution, list each.
m No
Yes ..................... institution name:
17_1_ Checking account Mass Mutual Federal Credit Union (#...3138) $ 1,200_00
17_2_ Checking account JPMorgan Chase Bank (#...9846) $ 50_()0
17.3. Savings account $
17.4. Savings account: $
17.5. Certiiicates ot deposit: $
17,6. Other financial account H...1494) $ 483.00
i7.7. Other financial account $
17.8. Other financial account: $
17.9. Other Gnancial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examp/es: Bond iunds, investment accounts with brokerage firms, money market accounts
No
l:] Yes ..................
institution or issuer name:
$
$
$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
No
l:] Yes. Give specific
information about
them. ........................
Name of entity: % ot ownership:
% $
% $
% $

 

 

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20. Government and corporate bonds and other negotiable and non~negotiable instruments
Negof/`ab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No

[:]Yes. Give specific
information about

 

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them, ......................
issuer name:
$
$
$
21. Retirement or pension accounts
Examples.' lnterests in lFlA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
l:] No
Ves. List each
account separately |nstitution names
Type of account:
401(k) or similar pian; Mass Mutua' $ 7’000'00
Pension plan: 3
lRA: $
Fletirement account: $
Keogh: 3
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examp/es:Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
No
m Yes ........................... institution name or individua|:
Electric: $
Gas: $
Heatlng oil: $
Rental unit: $
Prepaid rent: $
Telephone: S
Water: S`
Rented furniture: $
Other: 53
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
m Yes ........................... issuer name and description:
$
$
$

 

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24. interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1),

No
m Yes """"""""""""""""""""" institution name and description Separate|y file the records of any interests.11 U.S.C. § 521(c)‘

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

No
L`.] Yes. Give s eciric
’° $0.00

information about them ,.

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements
No

l'_'l Yes. eive specific
information about them. ,. $ 0-00

 

 

 

27. Licenses, franchises, and other general intangibles
Examp/es; Building permits, exclusive licenses, cooperative association hoidings, liquor licenses, professional licenses

-No §

i:i Yes. Give specific
information about them. ..

t

 

$0.00

 

 

Money or property owed to you? Current value of the
portion you own?
\ Do not deduct Secured
claims or exemptions

28. Tax refunds owed to you

 

No

i:i Yes. Give specific information Fede,a§: $ 0.0U
about them, including whether §
you already filed the returns S,ate; $ 0.00
and the tax years. ...................... § weak $ O_OO

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settiement, property settlement

-l\lo

 

m Yes. Give specific information ............. §
i Alimony: $ 0.00
§ Maintenance: $ 0-00
§ Support: $ O-OO
§ Divorce settlement $ 0~00
§ Property settlement $ O'OO

 

 

30. Other amounts someone owes you
Examp/es.' Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
Social Security benefits; unpaid loans you made to someone else

No §
m Yes. Give specific information......

 

 

 

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31. interests in insurance policies
Examples.' Hea|th, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
No

[:l Y€S- Nam€ Th€ ifiSUVanC§‘ CQmDanY Company name; Beneficiary: Surrender or refund value:
of each policy and list its value,

 

 

 

 

 

 

 

  

 

 

 

 

$
$

32. Any interest in property that is due you from someone who has died

lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitied to receive

property because someone has died. f

live § §

m Yes. Give specific information .............. . § $ O_Oo
33. Claims against third parties, whether ornot you have filed a lawsuit or made a demand for payment

Examp/es:Accidents, employment disputes, insurance claims, or rights to sue

[:I NO §‘Class action iaWs'uit`:'Th`e' case"is"”o'n“"a't‘o’lling“"a`g`re'e`m‘e‘nt;’The"'\}ust`For' Me`ri"MDt"ls"§

y D .b h l . tin USDC, Southern District lL East St. Louis Division ' 3: 16- cv-00638 DRH. The i

eS' escr' e eac C am """"""""""" pg|aintiff?s attorneys are in the process of negotiating a settlement, Debtor is owed §$40 000 00
§money from ex- spouse for violation of the Divorce Decree by not holding him

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

to set off claims

“No g

l:] es Describe each claim § $O'OO
35. Any financial assets you did not already list

No

m Yes. Give specific information ............ § $ 0_00

§

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here ........................................................................................................................................................ 9 $48 743 00

 

 

 

m Describe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part1.

 

37. Do you own or have any legal or equitable interest in any business-related property?

No. Go to Part 6.
m Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims ~
or exemptions

38, Accounts receivable or commissions you already earned

l:]No y

l:] Yes. Describe .......

i
z

39. Office equipment, furnishings, and supplies
Examp/es: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

ENO

E Yes. Describe ....... ~ $

 

 

 

 

 

 

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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

I:.]No

l:] Yes. Describe...

 

 

 

 

41. inventory
L:I No l
[:1 Yes. Describe ....... § ;$

s

 

42. interests in partnerships or joint ventures

m No

I:l Yes. Describe ....... Name of entity % or ownership;
% $
% $
% $

43. Customer lists, mailing |ists, or other compilations

l:lNo

[:] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?

l:] No
l:] Yes. Describe ......... :

 

 

§
44. Any business-related property you did not already list

l:ll\lo

m Yes. Give specific
information .........

 

 

 

 

MG>%€HH)€Q

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ O_O()
for Part 5. Write that number here .............................................................................................................. 9

 

 

 

 

Describe Any Farm- and Commercia| Fishing-Related Property Vou Own or Have an lnterest ln.
|f you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
l:l Yes. Go to line 47.

 

Current value of the
portion you own?

Do not deduct secured claims '
or exemptions

47. Farm animals
Examp/es: Livestook, poultry, farm-raised fish

m No
m Yes ..........................

 

 

l

1

l

§

§ $

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48. Crops-either growing or harvested

ENo

 

I:I Yes. Give specific §
information ............

49_ Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

[:]No

 

[:] Yes ...........................

f
i
t

 

 

50. Farm and fishing supplies, chemicals, and feed

L__]No

 

m Yes ...........................

 

51.Any farm- and commercial fishing-related property you did not already list

mNo

 

I:I Yes. Give specific
information ............
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here ........................................................................................................................................................ ')

53. Do you have other property of any kind you did not already list?
Examples.' Season tickets, country club membership

No §
m Yes. Give specific
information ............

§

Describe A|| Property You Own or Have an lnterest in That You Did Not List Above

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 9

List the Totals of Each Part of this Form

Filed 03/04/19 EOD 03/04/19 15:43:47 PQ 12 Of 46

 

 

$ 0.00

 

 

 

$ 0.00

 

55. Part 1: Total real estate, line 2 .................................................................................................................................................................... ") $w

 

 

56. Part 2: Total vehicles, line 5
57. Part 3: Total personal and household items, line 15
58. Part 4: Total financial assets, line 36

59. Part 5: Total business-related property, line 45

60. Part 6: Total farm- and fishing-related property, line 52

61. Part 7: Total other property not listed, line 54

62. Total personal property. Add lines 56 through 61. ........

63. Total of all property on Schedule A/B. Add line 55 + line 62 ........................................................................................

........... §

$ 2,500.00
$ 21,075.00
$48,743.00
$ 0.00
$ 0.00

+$000

§ "$72,318.00

 

Copy personal property total ') +$ 721318-00

 

$441,718.00

 

 

 

page _19_. of 19

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 13 Oic 46

Fil| in this information to identify your case:

Johnny Darreii Lorick

First Name Middle Name Last Name

Debtor 1

 

Debtor 2
(Spouse, if Gling) First Name Midaie Name cast Name

 

United States Bankruptcy Coun for the: Southern District of indiana

Ca:e number 19'00252")`)6'13 m Check if fhiS iS an
" “°W") amended filing

 

 

Official Form 1060
Schedule C: The Property You Claim as Exempt 4/16

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information
Using the property you listed on Schedule A/B: Property (Officiai Form 106A/B) as your source, list the property that you claim as exempt if more
space is needed, till out and attach to this page as many copies of Part 2: Add/tiona/ Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Aiternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Property You Claim as Exempt

1, Which set of exemptions are you claiming? Check one on/y, even if your spouse is fi/ing with you,

You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
a You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

 

Brief description of the property and line on Current value of the Am°Un§ °f the _ Specific laws that allow exemption
Schedule A/B that lists this property portion you own exemption you ¢|alm
Copy the value from Check Only One _bOX
Schedule A/B for each exemption
. 5445 Ha"is°" R‘dge B*"d~ ind. code Ann. § 34-55-10-2 (c)(i)
E;‘§§rpion¢ $M -$ 19,300.0<>
I:J100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 1.1
B 1 f Household goods » Household goods ind. Code Ann. § 34-55‘10-2 (c)(2)
del:cription' $ 81335-00 -$ 8,335.00
. E] 100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 6
Bri f Electronics - Televisions, DVDs, Radios, Projector, ind. Code Ann. § 34-55-10‘2 (c)(2)
e Computers & Tablets, Printer, Record Player 81 $ 2,540.00 -$ 1,915.00

 

description: Albums, Cell Phones, DVD P|ayers m 1009 ff _ arket al t
00 airm v ue,up o

Line from any applicable statutory limit

Schedule A/B: 7

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases E|ed on or after the date of adjustment.)
No
E Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

m No
i:] Ves

Officia| Form 106C Schedule C: The Property You Claim as Exempt page 1 of_2_

CaS€ 19-00252-JJG-13 DOC 21 Filed 03/04/19

Debtm Johnny Darrell Lorick

First Name Middle Name

m Additional Page

Last Name

EOD 03/04/19 15243:47 PQ 14 Of 46

Case number (i/knawn) 1 9`00252“\1\]6°1 3

 

Brief description of the property and line
on Schedule A/B that lists this property

Cash (Cash On Hand)
Brief
description:

Line from
Schedule A/B.' 16

Current value of the
portion you own
Copy the value from
Schedule A/B

$10.00

Mass Mutual Federal Credit Union (#...3138) (Checking)

Brief
description:

Line from
Schedule A/B: 1741

_ (#...1494) roman
Brief

description:

Line from

Schedu/e A/B: 17.6
_ Mass N|utual
Brief

description:

Line from
Schedule A/B.' 21

Brief
description:

Line from
Schedule A/B:

Brief
description:
Line from
Schedu/e A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B.'

Brief
description:
Line from
Schedule A/B.'

Brief
description:

Line from
Schedule A/B.'

Brief
description:

Line from
Schedule A/B.'

Brief
description:

Line from
Schedule A/B.'

Official Form 1060

$1,200.00

$483.00

$7,000.00

Amount of the

_ _ Specif`rc laws that allow exemption
exemption you claim

Check only one box
for each exemption

lnd. Code Ann. § 34-55~10~2 (c)(3)
$ 10.00

m 100% of fair market value, up to
any applicable statutory limit
lnd. Code Ann. § 34-55~10~2 (c)(3)
$ 390.00

EtOO% of fair market value, up to
any applicable statutory limit

ind. code Ann. § 34.55»10-2 <c)(7);

$ 483_00 ind. code Ann. § 34-55~10-2 (c)(a>

m 100% of fair market value, up to
any applicable statutory limit

|nd. Code Ann. § 34~55‘10~2 (C)(G)
$ 7,000.00

m 100% of fair market value, up to
any applicable statutory limit

l:i$

m 100% of fair market value, up to
any applicable statutory limit

l:l$

m 100% affair market value, up to
any applicable statutory limit

l:i$

m 100% of fair market value, up to
any applicable statutory limit

l:l$

 

Schedule C: The Property You Claim as Exempt

I:] 100% of fair market value, up to
any applicable statutory limit

l:l$

[:]100% of fair market value, up to
any applicable statutory limit

i:]$

m 100% of fair market value, up to
any applicable statutory limit

Ei $ m
m 100% of fair market valuel up to
any applicable statutory limit

i'_`l$

E100% of fair market value, up to
any applicable statutory limit

pagelon

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 15 Oi 46

Fi|l in this information to identify your case:

Johnny Darrel| Lorick

First Name

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Southern District 0f indiana

Case number 19~00252-JJG~13

l if known)

l:]cheoi< if this is an
amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
n No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

Yes. i=iii in ali of the information beiow.

m List Aii secured ciaims

; 2. List all secured claims. if a creditor has more than one secured ciaim, list the creditor separately
for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2d
As much as possible, list the claims in alphabetical order according to the creditor’s name.

Colonial National Mortgage

 

       

 

Describe the property that secures the claim: $194,929-64

$369,400.00 $ 0.00
§ 6445 Harrison Ridge Blvd., lndianapolis, lN 46236 ~ $369,400.00 §

 

 

Creditors Name
a Division of Co|onia| Savings, FA

 

 

 

 

Number Street §
P 2 '
0 BCX 988 As of the date you file, the claim is: Check all that apply.
FOrt WOrth TX 76113 m Contingerit
city slate ziP code Ei Unliquidated

who owes the debt? check one. m Disi)uted

Debtor 1 only Nature of lien_ check air that apply.

m Debtor 2 only An agreement you made (such as mortgage or secured
i:i Debtor 1 and Debtor 2 only car loan)
m Ai lean one Of lite debtors and another m Statutory lien (such as tax lien, mechanic's llen)

ill check irthis oiaim relates to a m J“dg"‘e"‘ "e" from 3 'aWS““
i:i Other (including a right to offset) §

community debt
Date debt was incurred 2017 Last 4 digits of account number 4101

2.2 Harrison Ridge Neighborhood
Association, inc.

Describe the property that secures the claim: $1,586-53 $ 369,400-00 $ 0-00

6445 Harrison Ridge Blvd., lndianapolis, lN 46236 - $369,400.00

 

 

Creditor's Name
c/o Gemini l\/ianagement. lnc.
Number Street l

9111 Crawfordsville Road

 

 

 

 

of the date you file, the claim is: Check ali that apply.

indianapolis iN 46234 l:l Coniingeni

 

city state zii= code
Who owes the debt? Check one.
Debtor1 only
n Debtor 2 only
m Debtor 1 and Debtor 2 only
m At least one of the debtors and another

 

L:i Check if this claim relates to a
community debt
Date debt was incurred 2018

Add the dollar value of your entries in Column A on this page. Write that number here:

Official Form 106D

m Unliquidated
m Disputed

Nature of lien. Check all that apply.

m An agreement you made (such as mortgage or secured
car loan)

Statutory lien (such as tax lien, mechanic’s lien)

n Judgment lien from a lawsuit

m Other (including a right to offset)

Last 4 digits of account number 1320

Schedule D: Creditors Who Have Claims Secured by Property

§mae.§ialz___§

page 1 of 4_

 

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 16 Oi 46

Johnny Darreli Lorick
Middle Name

Debtor 1

First Name

Additional Page

 

by 2.4, and so forth.

After listing any entries on this page, number them beginning with 2.3, followed

Case number (/iknown) 1 9'00252“\]\]6“1 3

Last Name

 

 

  
 

     

if

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

indiana Housing 81 COmmUnlty Describe the property that secures the claim: $ 3691400-00 $ O-OO
Development Authority
6445 Harrison Ridge Blvd., lndianapolis, lN 46256 - $369,400.00 i
Creditor's Name " §
30 S. Meridian Street
Number Street §
soiie 1000
_ As of the date you file, the claim is: Check all that apply.
indianapolis lN 46204 g Comingem
Ci!y State ZiP Code m Un"quidated
Who owes the debt? Check one. m Disputed
- Debtor 1 On'y Nature of lien. Check all that apply.
[:i Debtor 2 only
[:l Demor§ and Debmr 2 On§y ):;ra<g;:t)ament you made (such as mortgage or secured
m At least One ofthe debtors and another m Slatutory lien (such as tax lien, mechanic’s lien)
m Check if this claim relates to a [:.] Judgmem lien from a laWSUil
community debt l:i Other (including a right to offset)
Date debt was incurred 2014 Last 4 digits of account number
l__| Describe the property that secures the claims $ $ $
i
Creditor's Name §
l
Number Street
l
As of the date you file, the claim is: Check all that apply.
i:i Contingent
city stare zii> code [_'_J uniiquidaied
Who owes the debt? Check one, n D, § d
ispu e
m Debtor 1 only _
Debtor 2 amy Nature of lien, Check all that apply.
Debior 1 and Debior 2 On|y m An agreement you made (such as mortgage or secured
m At least one of the debtors and another ear loan)
m Statutory lien (such as tax lien, mechanics lien)
Check if this claim relates to a » »
m community debt m Judgment lien from a lawsuit
m Other (including a right to offset)
Date debt was incurred Last 4 digits of account number
._l Describe the property that secures the claim: $ $ $
Creditor's Name ;
Number Street §
As of the date you file, the claim is: Check all that apply.
City Stale ZlP Code m Con§ingem
Who owes the debt? Check one. § :T`||qu'd:ted
ispute
i:i Debtor 1 only _
m Deb§o§ 2 On|y Nature of lien Check ali that apply.
l:] Debtor 1 and Debtor 2 only m An agreement you made (such as mortgage or secured
i:i At least one of the debtors and another car loan)
m Statutory lien (such as tax lien, mechanlc`s lien)
i:i Check if this claim relates to a m Judgmem lien from a lawsuit
commumty debt m Other (including a right to offset)
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: $ 29,000.00
if this is the last page of your form, add the dollar value totals from all pages. $ 225’516`17
… Wrife.that nucmberchere; , ,, .o .. o ._ o o , --_----
Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page _§__ of_4_

Official Form 106D

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 17 0146

Johnny Darreli Lorick Case number (,.,kmwn) 19-00252-JJG-`13

First Name Middie Name Last Name

m List others to Be Nomied for a nehi That You Aiready Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part ‘i. For exampie, if a collection

§ agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Simiiarly, if
f you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to
' be notified for any debts in Part 1, do not fill out or submit this page.

Debtor 1

 

§::§ Ahih R, Brown on which line in Part1 did you enterthe creditors 2-1

 

Name Last 4 digits of account number
1111 E. 54th Street

Street

Suite 144

 

 

indianapolis lN 46220
City State ZlP Code

 

 

§j Automotive Finance Corporation On which line in Part1 did you enter the creditor? 2-1

Name Last 4 digits of account number
Attn; Frances C. York

Street

13085 Hamiiton Crossing Blvd., Suite 300

 

 

 

Carmei IN 46032
City State Z|P Code

 

§:§ Easl Campus Surgery Center LLC On which line in Part1 did you enter the creditor? 2-1
Name Last 4 digits of account number

 

fka indiana Surgery Center East, K|ein

 

Street
6626 E. 751h Streei, Suite 200

 

indianapolis iN 46250
City State Z|P Code

 

 

 

§::§ indiana Housing & Community Deve|opment Authority O" Which line in Part1 did y°u enter me °redit°'? -2-3-

Name Last 4 digits of account number
30 S. Meridian Street

Street

Suite 1000

 

indianapolis iN 46204
City ZlP Code

 

       

E Joel Bornkamp On which iine in Part 1 did you enter the creditor? 2-1

 

Name Last 4 digits of account number
Reisenfe|d & Associates LPA, LLC

Street

3962 Red Bank Fioad

 

 

 

Cincinnaii OH 45227
City State Z|P Code

 

 

§:::§ LaW OmCe Of Chad D§Ckerson On which line in Part1 did you enter the creditor? _g_-_i___ §
Name Last 4 digits of account number x
320 Nonh Meridian Street
Street

Suite 1022

 

 

 

indianapolis lN 46204
City State ZlP Code

 

   

Official Form 1060 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page __3_ of ;4__

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 18 0146

Johnny Darreli Lorick Case number(,,k,wwm 19-00252-\1\.1@'1 3

First Name Micldle Name Last Name

m List others io Be Noiiiied for a Dobi That vou Aiready Lisied

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
` you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to

§ be notified for any debts in Part 1, do not fill out or submit this page.

Debtor 1

 

§:§ Mei Hsiang Lorick On which line in Part1 did you enter the creditor? 2-1

 

Name Last 4 digits of account number
6355 Brixton Lane
Street

 

 

indianapolis lN 46220
City State Z|P Code

 

 

[:§ Nicho|as Char|es Huang On which line in Part1 did you enter the creditor? 2-1

Name Last 4 digits of account number
10 W. Market Street

Street

Suite 700

 

 

 

 

indianapolis iN 46204
City ZiP Code

 

 

 

 

   

m Nonhwest Tme Fam;|y Of Companies On which line in Part 1 did you enter the creditor? 2-1 1

 

 

 

 

Name Last 4 digits of account number
7265 Kenwood Road

Street

Cincinnati OH 45236

 

   

City State Z|P Code

§: Sta§e Of 'ndiana Attomey Genera§ On which line in Part1 did you enter the creditor? 2-1
Name Last 4 digits of account number

c/o Highest Executive Officer Piesent

Street

302 West Washington Street, South 5th F|oor

 

 

46204
City State ZIP Code

 

 

   

[:| State Of |ndiana Departmem Of Revenue On which line in Part1 did you enter the creditor? 2-1
Name Last 4 digits of account number

 

c/o Highest Executive Otficer Present
Street
100 N. Senate N 105

 

 

 

indianapolis lN 46204
City State ZiP Code

…m.ci fm §

on which line in Part1 did you enter the creditor? 2.2

 

 

§: Thrasher Buschmann & Voeike|, P.C.
Name
151 N. De|aware Steet
Street
Suite 1900

Last 4 digits of account number

 

indianapolis |N 46204 §
City State ZiP Code

Official Form 1060 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page 4_ of4_

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 19 0146

Fill in this information to identify your case:

Demor 1 Johnny Darreli Lorick

 

First Name Middle Name Last Name

Debtor 2
(Spouse, if tiiing) Firsi Name Miodle Name Last Name

 

United States Bankruptcy Court for the: Southern District ot indiana
E check if this is an

b 19-002 2- ~1 '
((;i?::o;:;n er 5 JJG 3 amended Hllng

foicial Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRlOR|TY claims and Part 2 for creditors with NONPR|ORlTY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property(Offlcial Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (thcial Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the |eft. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

m List All of Your PRlOR|TY Unsecured Claims

` 1. Do any creditors have priority unsecured claims against you?
|:l No. eo to Pari 2.
Yes.

' 2. List ali of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each ciaim. For
each claim listed, identify what type of claim it is, if a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts As much as possible. list the claims in alphabetical order according to the creditor’s name. if you have more than two priority
unsecured claims. fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

`rr<»iai;¢i~aim*

 

 

indiana Department of Revenue

2.1 $613.28 $ 0.00 $61328

Last 4 digits of account number

 

 

 

 

 

 

 

 

Priority Creditor's Name

100 N. Senate when was the debt incurrod? 2014

Number Street

ROO"" N203 ' BankrUPtCY As of the date you fi|e, the claim is: Check ali that apply.
indianapolis lN 46204 m Commgem

City mate Z‘p Code l:] Uniiquidated

Who incurred the debt? Check one, m Disputed

Debi<>r 1 0an Type of PRlOR|TY unsecured claim:

m D@bfof 2 Only m Domestic support obligations

m Debt°" 1 and Debt°r 2 °nly Taxes and certain other debts you owe the government

m At least one of the debtors and another m Claims for death or personal injury while you were

L'_`_l check iiihis claim is for a community debt intoxicated
EJ other. specify

 

is the claim subject to offset?
No

?|“’l[l_?ii§‘iiiai"n`évenue“'Seivice

 

 

 

 

 

 

 

Last 4 digits of account number $ 2,740.25 3 O.UO $ 2,740.25
Prion'ty creditors Name When was the debt incurred? 2014
Attn: Bankruptcy Department §
Number Street As of the date you i”lle, the claim is: Check all that apply. §
PO_ BOX 7346 m Contingent :
Phllade|phia PA 19101 m Un|iquida§ed §
city stale zlP code L-_l Disputed §
1 o incurred the debt? Check one. 3
Debtor 1 only Type of PRlOR|TY unsecured claim:
m Deb!°i 2 O"\y m Domestic support obligations
m Debmr 1 and Debtor 2 0an Taxes and certain other debts you owe the government
m At least One of me debtors and another l:] Claims for death or personal injury while you were §
m Check if this claim is for a community debt intoxicated ;

Oth . S `
ls the claim subject to offset? m er peclfy

L§ No

 

thcial Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of_7__

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 20 Oi 46

Debw 1 Johnny Darreli Lorick

Case number (ill<hbwnl

 

First Name Middie Name Last Name

m Your PRlOR|TY Unsecured Claims -- Continuation Page

§ After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

 

 

 

Total alaimo

19-00252-JJG-13

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Oregon Department of Fievenue
Last 4 digits of account number $ 236'80 $ 227'10 $ 9'70
Priori`ty Creditor's Name When WaS the debt inCLli'fed? 20lt 4
955 Center Street NE
Number Street As of the date you file, the claim is: Check all that apply.
m Contingent
salem on 97301 [:l unliquidated
city stale zlP code m DiSpufed
Type of PRlOR|TY unsecured claim:
Who incurred the debt? check shs. [] Domestic Suppon Ob,igaiions
Debto,, 1 only Taxes and certain other debts you owe the government
m Deb§or 2 Omy [___l Claims for death or personal injury while you were
m Debtor 1 and Deb’tor 2 only m E::X|casted _fy
r. eci
m At least one of the debtors and another e p
l:] Check if this claim is for a community debt
is the claim subject to offset?
NO
m Yes
Last 4 digits of account number $ 3 $
_ , , When was the debt incurred?
Priorlty Creditor's Name
As of the date you file, the claim is: Check all that apply.
Number Street
m Contingent
l:] unliquidated
m Disputed
City State ZiP Code _
Type of PRlOR|TY unsecured clalm:
Who incurred the debt? Check one. m Domestic support obligations
D€biOF 1 0an m Taxes and certain other debts you owe the government
[:l Debfot 2 Oniy g Claims for death or personal injury while you were
m Debtor 1 and Debtor 2 only intoxicated
m At least one of the debtors and another [:] Other. Specify
i:] check if this claim is for a community debt
is the claim subject to offset?
E] N<>
_ m Yes
: Last 4 digits of account number $ $ $
Prion'ty Creditors Name When was the debt incurred?
Number street As of the date you file, the claim is: Check ali that apply.
m Contingent
m Unliquidated
city State zlP code m Di$puted
Type of PRlOR|TY unsecured claim:
Who incurred the debt? Check One. m Domestic support obligations
m Debtor 1 Dmy Taxes and certain other debts you owe the government
m Debtor 2 amy m claims for death or personal injury while you were
m Debtor 1 and Debtor 2 on| m§oxlca§ed
y m Other. Specify
At least one otthe debtors and another
ECheck if this claim is for a community debt
is the claim subject to offset?
§ l:l N<>
Schedule E/F: Creditors Who Have Unsecured Claims page § ofl__

Official Form 106E/F

Debtor 1

m List All ot Your NONPR|ORlTY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claiml list the other creditors in Part 3,if you have more than three nonpriority unsecured

 

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 21 0146

Johnny Darreli Lorick

 

Filst Name Mlddle Name Last Name

1 9~00252-JJG-13

Case number tiiknawn)

 

1:1 No. You have nothing to report in this part. Submit this form to the court with your other schedules

Yes

claims t”ill out the Continuation Page of Part 2.

CitiCards CBNA

 

Nonpriority Creditor's Name

 

 

 

PO Box 6217

Number Street

Sioux Falls SD 57117
City State ZlP Code

Who incurred the debt? Check one.
Debtor 1 only

m Debtor 2 only
[:] Debtor 1 and Debtor 2 only
m At least one of the debtors and another

13 Check if this claim is for a community debt
is the claim subject to offset‘?

i:‘,;_§, NO

§ § Yes

42 l gCiommunity Hea|th l\ietworl<

 

Nonpriority Creditor's Name

7250 Clearvisia Drive

 

 

 

 

 

Last 4 digits of account number 5156
1998

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

m Contingent

m Unliquidated

1:1 Disputed

Type of NONPR|ORlTY unsecured ciaim:

m Student loans

m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit~sharing plans, and other similar debts
Othe,_ Spec§fy Credii Card Debt

Last 4 digits of account number MUil
When was the debt incurred? 21217 - 2Q1E

 

$ 478.85

 

$3,817.00

 

 

 

 

 

 

 

 

 

Number Street As of the date you file, the claim is: Check all that apply.
indianapolis lN 46256 § C°'f""?e“‘
city state ziP code Un"qu'dated
t- o incurred the debt? Check one. m Disputed
v n
m §ebtor; 0an Type of NONPR|ORlTY unsecured claim:
bt
e or only m Student loans
m Debtor1 and Debtor2 only m . . . . . .
n Obilgations arlslng out cfa separation agreement or divorce
At least one of the debtors and another that you did not raped as priority Claims
m Check if this claim is for a community debt Deth to pension or profit-sharing plans, and other similar debts
Other. Specify Medical Services
is the claim subject to offset?
§ ,
, YQF
Deca ur Townshlp Flre Department ‘
4.3 . . ~
Last 4 digits of account number 82 392 00
l ' §
Nehprierlty creditors Name When was the debt incurred? 2016
5410 S. High Schoo| Road :,
Number Street
As of the date you t”lle, the claim is: Check all that apply.
indianapolis iN 46221 L___] Contingent
City State ZlP Code . , §
Who incurred the debt? Check one. § Un"q“'dated
Debtor 1 only D‘Sputed
|_'_:] Debto, 2 only Type of NONPR|ORlTY unsecured claim:
1:1 Debtor 1 and Debtorz only m Student loans
m At least one of the debtors and another m Obligations arising out of a separation agreementh divorce
that you did not report as priority claims
m Check if this ¢laim is for a C°mmunity debt Debts to pension or profit-sharing plans, and other similar debts
\/ - ' ' l
ls the claim subject to offset-2 Other. Specify Medical Servlces §
Schedule E/F: Creditors Who Have Unsecured Claims page §_ of7_

Official Form 106E/F

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 22 Olc 46

Johnny Darreli Lorick 19-00252-JJG-13

First Name Middle Name Last Name

m List All of Your NONPR|ORlTV Unsecured Claims

z 3. Do any creditors have nonpriority unsecured claims against you?

No. You have nothing to report in this part. Submit this form to the court With your other schedules.
" Yes

Debtor 1 Case number (i/known)

 

‘ 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured ciaim, list the creditor separately for each ciaim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.|f you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

`4_4 l iu Healih

Nonprioriiy Creditor's Name

 

 

 

 

PO Bo)< 4374

Number Street

Chicago |L 60680
City State ZlP Code

Who incurred the debt? Check one.
Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

g At least one of the debtors and another

m Check if this claim is for a community debt

is the claim subject to offset?

17 rio
n
Yes

4_5 l indiana Nephrology & intern

    

 

 

Nonpriority Creditor’s Name

8935 N. Meridian Street

 

 

 

Number Street

#200

indianapolis IN 46260
City State ZlP Code

Who incurred the debt? Check one.
Debtor 1 only

m Debtor 2 only

l:l Debtor 1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community debt
ls the claim subject to offset?
if No
1 - Yes
-6 ivledical Associaies, LLP

 

 

Nonpriority Creditors Name
PO Box 6276
Number Street

Dept. 20

indianapolis IN 46206
City State ZlP Code
Who incurred the debt? Check one.

Debtor 1 only

[:1 Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

E.] Check if this claim is for a community debt

ls the claim subject to offset?
L'. No

M_l Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

. . M j
Last 4 digits of account number U l $ 605_00

When was the debt incurred? 2016

As of the date you t”l|e, the claim is: Check all that apply.

m Contingent

L':] unliquidated

m Disputed

Type of NONPR|ORlTY unsecured claim:

m Student loans

[:] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

m Debts to pension or pmm-sharing plans, and other similar debts

Otherl Specify M€dlcal SelViC€$

Last 4 digits of account number 3310
When was the debt incurred? 2Q17

As of the date you file, the claim is: Check ali that apply.

1.:1 Contingent

[:l unliquidated

m Disputed

Type of NONPR|ORlTY unsecured ciaim:

I:l Student loans

m Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims

1:1 Debts to pension or profit-sharing plans, and other similar debts

Other. Specify MediCal Sei'ViCeS

Last 4 digits of account number Mult
When was the debt incurred? 2017

As of the date you file, the claim is: Check all that apply.

m Contingent

|`_'.'.l unliquidated

m Disputed

Type of NONPR|ORlTY unsecured claim:

m Student loans

m Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

Other_ Specify Medlcal Servlces

 

 

 

$207.00

 

 

$2,209.00

 

 

page .‘Z_ Of _7_.

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 23 Olc 46

Deblorl Johnny Darreli Lorick

 

First Name Middle Name Last Name

m List All ot Your NONPRlOFllTY Unsecured Claims

19~00252-JJG-`i 3

Case number iiri<ridwni

 

3. Do any creditors have nonpriority unsecured claims against you?

m NO. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List ali of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one

nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim lt is. Do not list claims already

included in Part 1. if more than one creditor holds a particular ciaim. list the other creditors in Part 3.|i you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

Nationai Tire & BT/CBNA

Nonpriority Creditor's Name

 

 

 

 

 

Last 4 digits of account number

 

 

 

 

 

 

 

 

 

 

 

 

 

PO BOX 6497 When was the debt incurred? __Z_Q_j_g_m
Number Street
As of the date you file, the claim is: Check all that apply.
Sioux Falls SD 57117
city state zlP code § C°"t‘“ge"'
Unli uidated
Who incurred the debt? Check one. m Diquuted
g §e::m; On:y Type of NONPR|ORlTY unsecured claim:
e or on y m
St de t lo ns
m Debtor 1 and Debtor 2 only u, n, a , l . .
cl m Obilgatlons arising out of a separation agreement or divorce
At least one of the debtors and another lhal you old not reporl as priority Claims
l’_'] check ll thls claim ls for a community dam m Debts to pension or profit-sharing plans, and other similar debts
/ .
Othe,_ Speclly Credlt Card Debt
is the claim subject to offset?
351 No
,; Yes
|4.8 l Nav'em Corporatlon Last 4 digits of account number 9188 $13,011-00
Nonpriority Creditors Name When was the debt incurred? QQQS
11100 USA Parkway
Number Street
As of the date you file, the claim is: Check all that apply.
46037 1:.1 Contingent
city stale zlP code m Unliquldaf€d l
Who incurred the debt? Check one. Dlsputed
:e:t°r; only Type of NONPR|ORlTY unsecured clalm: §
e tor onl
y Student loans
m Debtor1 and Debtor2 only m Ob'_ f _ . ‘ f t_ t dl
iga ions arising ou o a separa lori agreemen or lvorce
m At least one of the debtors and another that you did nol raped as priority Claims l
m check if this clallm ls for a Communlly debt § Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
is the claim subject to offset?
1" No
3 YQS
4-9 1 Northwest Radio|ogy Last 4 digits of account number 7388 $l 56 47
Nonpriorily Creditors Name When was the debt incurred? _2__01_8_____
10603 N. Meridian Street j
Number Street
As of the date you file, the claim is: Check ali that apply.
indianapolis iN 46290 l:} Conllngenl
Cit State ZlP Code m unliquidated

W\i/\o incurred the debt? Check one.
Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?
_"_1 No
,_,.1 ¥es

Official Form 106E/F Schedule E/F: Creditors

m Disputed

Type of NONPR|ORlTY unsecured claim:

m Student loans

m Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

Other_Speclly Medlcai Servlces

Who Have Unsecured Claims

page §_ Of 7_

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 24 Of 46

Debtor 1 Johnny Darreli Lorick Ca$e number (”knawn) 19_00252_JJG_13

First Name Midd|e Name Last Name

m List All of Your NONPR|ORlTY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

No. You have nothing to report in this part. Submit this form to the court with your other schedules.
" res
§

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. |f a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included iri Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

§
1

 

` n dole ii d h
§ a l gyo n lana Last4digits ofaccount number 3630 391 07

Nonpriority Creditor's Name

7340 Shade|and Station

 

When was the debt incurred? 201 7

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply,
|ndianapolis lN 46256
city state ziP cede § C°'“'"Qem
Unli uidated
Who incurred the debt? Check one, m Dr$pquted
.
g :e:tor ; On:y Type of NONPR|GR|TY unsecured claim:
e tor on y m
Student loans
m Debtor 1 and Debtor2 only _ . . . . .
m [:] Obligations arising out of a separation agreement or divorce
At least one of the debtors and another that you did nor report as priority claims
m Check if this claim is for a community debt m Debts to pension or proht-sharing plans, and other similar debts
Other Spec;fy Medical Servlces
ls the claim subject to offset?
_!’ No
-1 Yes f
4.11 St' Vmcem Med'ca1 Group Last 4 digits of account number mull $_2___1_2_._._.._80'6.8..______._'

When was the debt incurred? QQ 17

 

Nonpriority Creditor‘s Name

310 Medical Drive

 

 

 

Number Street _ _
#1 01 As of the date you file, the claim is: Check all that apply.
Carme| lN 46032 l:l Contingent

city state ziP cede 1:] U"|iquidat€d

who incurred the debt? cheek ene. l‘_°] Dispuied

w 1

Deb‘°' 1 °“'y Type er NoNFRioRiTY unsecured eiaim:

E] Debtor 2 onl
y m Student loans

m Debtor 1 and Debtor 2 only _ j , 1 , ,
m At ' t fm d br d th m Obligations arising out of a separation agreement or divorce
635 One 0 e e °'S an am er that you did not report as priority claims

m Deth to pension or profit-sharing plans, and other similar debts x
other specify Medica| Servlces

 

l:l check if this eiaim is for a community debt

ls the claim subject to offset?

13 No

L;` Yes

y Last 4 digits of account number
When was the debt incurred?

 

 

Nonpriority Creditor's Name

 

Number Street
As of the date you file, the claim is: Check all that apply.

 

m Contingent

 

 

\C/l‘ltl¥io incurred the debt? Check one. Sta{e zip Code m Un"quidated
m Debtor 1 only l:l Disputed
l:.l Debtor 2 only Type of NONPR|OR|TV unsecured claim: t
m Debtor 1 and Debtor 2 only m Student loans
m At least one of the debtors and another l:.] Obligations arising out of a separation agreement or divorce

that you did not report as priority claims
m check if this Claim is for a °°mmunity debt m Deth to pension or profit-sharing plans, and other similar debts `

is the eiaim subject to offset? E] other specify

2d No
,; Yes

 

 

Official Form 106E/F Schedule Ele Creditors Who Have Unsecured Claims page _6_ ofl___

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 25 Of 46

Debtor 1

m Add the Amounts for Each Type of Unsecured Claim

Johnny Darreli Lorick

 

First Name Middle Name Last Name

Case number (i/i<m>wni

19-00252-JJG-13

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

Ga.

60.

6d.

6e.

6h.

61.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6i. Total. Add lines 6f through 6i.

 

 

 

 

 

Total claim
6a $ 0.00
eb. $ 3,590.33
6e. $ 0.00
Gd' + $ 0.00
6e.

$ 3,590.33

Total claim
6i. $ 13,01 1 .OO
Gg_ $ 0.00
eh. $ 0.00
6i. + $ 12,889.07
613 $ 25,900.07

 

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page Z. Of _Z_

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 26 Of 46

Fill in this information to identify your case:

Debtor Johnny Darrel| Lorick

 

First Name Middie Name Last Name

Debtor 2
(SpGUSE li iiing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the SGUIh€m DlSU'lCi Of |ndiana

19`00252-JJG-13
Case number _ _ ,
(rri<nown> [:] Check rf this rs an
amended filing

 

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
No. Check this box and file this form With the court With your other schedules You have nothing else to report on this form,
Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Ort"rcia| Form 106A/B).

2. List separately each person or company with whom you have the contract or leasel Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

:2,`1` Aspen Square l\/lanagement Apartment rental lease agreement
Name Lessee

380 Union Street, #300

Street

West Springfie|d MA 01089

City State ZlP Code

 

 

 

 

 

Name

 

Street

 

 

,, ,`;§'F._Q_Q?¢ … t

 

Name

 

Street

 

t Z'PCOG€ c
2.4;

   

 

 

Name

 

Street

 

C'f>’ w , Statez'p CS?¢§ t, ,,
:2.5;

Name

   

 

 

Street

 

City State ZlP Code

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of_`l__

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 27 Of 46

Fill in this information to identify your case:

Debtom Johnny Darrell Lorick

 

First Name Middle Name LastName

Debtor 2
(SpOUSe, il filing) First Name Nliddle Name Last Name

 

United States Bankruptcy Courtfor the:_ Southem District of lndiana

Case number 19~00252-JJG~13

nimmer l:] cheek ifihis le an
amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lt more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)
y No
Yes
: 2. Within the last 8 years, have you lived in a community property state or territory? (Commun/'ty property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rlco, Texas, Washington, and Wisconsin.)

No. Go to line 3.

Yes. Did your spouse former spouse, or legal equivalent live with you at the time?

L____]No

Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

i

 

 

Name of your spouse former spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. |n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106ElF), or Schedule G (Offlcial Form 1066). Use Schedule D,
Schedule E/F, or Schedule Gto fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Co/umn 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1 - 1 -
Me' Hs'ang LO"CK schedule D, line 2-1
Name
6355 Brixton Lane l:] Schedule E/F' ""e-_
street ' m Schedule G, line
lndianapo|is |N 46220
___C_i_ly, __ ,_,,,,__ _ ,_ ,_ __ ._S_i?ie __ ,, __ Z'PC°de . ,, . e_ __ ,,
l:l schedule l:), line
Name ___ 5
I:] schedule E/l=, line
Street m Schedule G, line '
_____C'l¥__ , , _ _ , _ _, __,__$i_a,ie,. __ __________Z_l_P C,<>Si¢` __
3.3 g
U Schedule D, line __
Name §
l:] schedule E/l=, line
Street m Schedule G, line

 

Official Form 106H Schedule H: Your Codebtors page 1 of__1_

CaS€ 19-00252-JJG-13 DOC 21 Filed 03/04/19

Fill in this information to identify your case:

Johnny Darreli Lorick

Middle Name

Debtor 1

 

Flrst Name Last Name

Debtor 2
(Spouse,ifi"lling) FirstName

 

Middle Name Last Name

United States Bankruptcy Court for the: _ SOUthem DlSil'iCt 01 lndiana

19-00252-JJG-13

Case number
(lf known)

 

 

 

foiclal Form 106|
Schedule l: Your lncome

 

EOD 03/04/19 15243:47 PQ 28 Of 46

Check if this is:

An amended filing

A supplement showing postpetition chapter 13
income as of the following date:

MM / DD/ YYYY
12/15

 

Be as complete and accurate as possible. |f two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. |f more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Emp|oyment

1. Fill in your employment

information. Debtor 1

Debtor 2 or non-filing spouse

 

|f you have more than one job,
attach a separate page with
information about additional
employers

-Employed

l;l Not employed

Emp|oyment status

lnclude part-time, seasonal or
self-employed work.
Occupation

m Employed

Not employed

Quality Assurance l\/lanager

 

Occupation may include student ,
er hememai<er, if ii applies_ Massachusetts l\/lutual Llfe

Employer,s name insurance Company

 

1295 State Street

Employer’s address

 

 

 

 

Number Street Number Street
Springfield, l\/lA 01111
City State ZlP Code City State Z|F’ Code

How long employed there? 8 months

 

m Give Details About Monthly lncome

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $O in the space. lnclude your non-filing l

spouse unless you are separated

|f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. lf you need more space, attach a separate sheet to this form.

 

 

For Debtor1 For Debtor 2 or

non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll
deductions)_ lf not paid month|y, calculate what the monthly wage Would be. 2. $ 1(').()52_23 $

3. Estimate and list monthly overtime pay. 3. +$ 0-00 + $
4. Calculate gross income. Add line 2 + line 3. 4. $ 10»052~23 $ 2

 

 

 

 

 

 

OiHcial Form 106l Schedule l: Your lncome

page 1

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 29 0146

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Johnny Darreli Lorick Case number (i/knewh) 19‘00252'JJG'1 3
Firsi Name Mlddle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here ............................................................................................ 9 4. $ 10'052'23 $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 21563-51 $
5b. Mandatory contributions for retirement plans 5b. $ 0'00 $
5c. Voluntary contributions for retirement plans 50. $ 500'00 $
5d. Required repayments of retirement fund loans 5d. $ O'OO $
Se. insurance 5e. $ 140-08 $
5f. Domestic support obligations 51. $ 0'00 $
59. Union dues 59. $ 0`00 3
5h. Other deductions Specify: Long term d‘Sabmty 5h. +$ 41-58 + $
$ $
$ $
$ $
e. Add the payroll deductions Add lines 5a + 5b + se + sd + 5e +5f + 59 + 5h. e. $ 3245-17 s
7. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 61807-06 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ O_OO $
monthly net income. Sa.
8h. interest and dividends 8h. $ 0.00 $
8c. Famiiy support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimony, spousal support, child support, maintenance divorce $ 0.00 $
settlement, and property settlement 8c.
8d. Unemployment compensation 8d. $ O'OO $
8e. Social Security Be. $ G.OO $
8f. Other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (beneiits under the Supplementai
Nutrition Assistance Program) or housing subsidies 0
speerfy; er_ $ 0-0 $
Sg_ Pension or retirement income 89. $ O~OO $
8h. Other monthly income. Specify: 8h. + $ 0.00 + $
9. Add all other ineeme. Add lines 3a + ab + se + ad + se + er +Bg + 8h. 9. $ 0~00 $
10. Calcu|ate monthly income. Add line 7 + line 9. 7 _ 5 807 06
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10, $M + $ _ $ ’

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

lnclude contributions from an unmarried partner, members of your household, your dependentsv your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liab/'//'t/'es and Certain S!atistica/ lnformation, if it applies

 

13. Do ou expect an increase or decrease within the year after you file this form?
MNC.
m Yes. Explain:

Official Form 106l Schedule |: Your lncome

12.

 

 

$ 6,807.06

 

 

Combined
monthly income

page 2

 

CaS€ 19-00252-JJG-13 DOC 21 Filed 03/04/19

Fill in this information to identify your case:

Debior 1 Johnny Darreli Lorick

 

First Name Midd|e Name Last Name

Debtor 2

 

(Spouse, if hling) Flrst Name Middle Name Last Name

United States Bankruptcy Court for the: Southem Dismct of lndiana
19-00252-JJG-13

(State)

Case number
(lf known)

 

 

 

Official Form 106J
Schedule J: Your Expenses

 

Check if this is:

EAn amended filing

A supplement showing postpetition chapter 13
expenses as of the following date;

MM / DD/ YYYY

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12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

m Describe Your Household

1. ls this a joint case?

.No. Go to line 2.

n Yes. Does Debtor 2 live in a separate household?

UNo

EYes. Debtor 2 must me Ofticial Form 106J~2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? [] NO

DO not list D€bel’ 'l and -Yes. Fill out this information for
Debtor 2. each dependent ..........................
Do not state the dependents
names

3. Do your expenses include -N0

expenses of people other than
_v_<)il_r§_s_l_f_ and your ,d,epe_rld¢__nt$?__ a _Ye,$

m Estimate Your Ongoing Monthly Expenses

Dependent’s relationship to
Debtor1 or Debtor 2

Dependent’s
age

Does dependent live
with you?

 

 

 

Daughter 9
Son 5
Wiie 50

 

 

 

No
-Yes
D` No
-Yes
No
-Yes
ENQ
-Yes

ENQ
`EYes

 

Estlmate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. |f this is a supplemental Schedule J, check the box at the top of the form and fill ln the

applicable date.

lnclude expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your lncome (Official Form 106l.)

4. The rental or home ownership expenses for your residence. include first mortgage payments and

any rent for the ground or |ot_

|f not included in line 4:

4a Real estate taxes

4b. Property, homeowner’s, or renter's insurance

4<:. Home maintenance repair, and upkeep expenses

4d. Homeowner‘s association or condominium dues

Official Form 106J Schedule J: Your Expenses

4a,
4b.
4c.
4d.

¥our expenses

€969€£69

 

0.00

0.00
0.00
200.00
27.00

page 1

Debtor 1

17.

18.

20.

Official Form 106J

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 31 Of 46

Johnny Darreli Lorick

 

First Name Midd|e Name Last Name

. Additional mortgage payments for your residence, such as horne equity loans

Utiiities:

6e. Electricity, heat, natural gas

eb. Water, sewer, garbage collection

60. Telephone, cell phone, internet, satellite and cable services

6d, Other. Specify:

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medica| and dental expenses

Transportation. include gas, maintenancel bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

|nsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15a. Other insurance Specity:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: P|ates and registration

installment or lease payments:

iYa. Car payments for Vehicle 1

17b. Car payments for Vehicle 2

17c. Other. Specify:
17d. Other. Specify:

 

 

19-00252-JJG-13

Case number ii/knewn)

6e.
6b.
6e.

6d.

10.
11.

12,

14.

15a.
15b.
15c.

15d.

16.

17a.

17b.

Your payments of aiimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your lncome (Official Form 106|).

Other payments you make to support others who do not live with you.

Specify:

 

19.

Other real property expenses not included irl lines 4 or 5 of this form or on Schedule I: Your lncome.

20a. l\/lortgages on other property

20c. Rea| estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. l\/iaintenance, repair, and upkeep expenses

20e_ Homeowner's association or condominium dues

Schedule J: Your Expenses

20a.

20b.

20c.

20d.
20e.

Your expenses

 

$....__LQO_.

$_______M
$ BQ.QQ

S_______19_5_.QD_
$_._.....____._QLQ.Q_

$._._____QM_
s l§Q,QQ
$**___lcdou_
$ 1211 QQ
s 151,QQ
t 346.00

s_____________i_Q_l_>_.QQ_
$__.._M

0.00

0.00
$__.1___2_81_(20_
$__._M

$ 18.00

$_________M

s Q.QQ
$_.._________0_-913_
$____..__....__..Q.-.Q_Q_.

$ 0.00

$ 0.00

$______0.00
$_..______Q_-U

$_________O-_O_O_
$_~M_&Dl
$________Q_tQQ_

page 2

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 32 Of 46

Debtor 1 Johnny Darreli Lorick

 

First Name Mlddle Name Last Name

21_ Other. Spec;fy; Emergency and Miscellaneous Expenses

Case number (il knewn)

 

Rent paid while Debtor is working in MA

 

 

22. Calcu|ate your monthly expenses.

22a. Add lines 4 through 21.

and 22b. The result is your monthly expenses

23, Calcu|ate your monthly net income.
23b. Copy your monthly expenses from line 22c above.

The result is your monthly net income.

No.

19‘00252-\}..|6-13

 

 

 

 

 

 

 

a Y€S» Explain here:

§

 

214 +$ 125.00
+$ 1 ,365.00
+$
22a $ 4,290.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106.1‘2 220. Add line 22a 22b. $
220 $ 4,290.00
$ 6,807_06
23a Copy line 12 (your combined monthly income) from Schedule l. 233.
23b. __ $ 4,290.00
230. Subtract your monthly expenses from your monthly income. 21517`06
230. $
24. Do you expect an increase or decrease in your expenses within the year after you t"lle this form?
For example, do you expect to nnish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
Official Form 106J Schedule J: Your Expenses page 3

 

 

CaS€ 19-00252-.].](3-13 DOC 21 Filed O3/O4/19 EOD O3/O4/19 15243:47 PQ 33 Of 46

Fill in this information to identify your case:

Debioii Johnny Darreli Lorick

Firsl Name Middle Name Last Name

Debtor 2
(Spouse, il lillng) First Name Midd|e Name Last Name

 

United States Bankruptcy Court forthe Southem Dismci Of indiana

Case number l 9‘00252'\1\]@-13

(lf known)

 

iii cheek iflnie is en
amended filing

 

foicial Form 106Dec
Deciaration About an individual Debtor’s Schedules lens

if two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Be|ow

Did you pay or agree to pay someone who is NOT an attorney to help you till out bankruptcy forms?
No

l;] Yes. Name of person .Attach Bankruplcy Petit/'on Preparer's Notice, Dec/aration, and
Signafure (Ofncial Form 119).

Under penalty of perjury, | declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

i

*‘ei..t_.,, ''''''''''

 

 

Signature of Debtor 1 Signature of Debtor 2
D'a~;`e 03/04/2019 Date
MM/ DD l YYYY MM/ DD/ YYYY

 

Official Form 1OBDec Declaration About an individual Debtor’s Schedules

CaS€ 19-00252-.].](3-13 DOC 21 Filed O3/O4/19 EOD O3/O4/19 15243:47 PQ 34 Oi 46

Fill in this information to identify your case:

Debtor1 Johnny Darreli Lorick
Firsl Name Middle Name Last Name

Debtor 2
(Spouse, if fliing) FirsiName Middle Name l_eslNeme

 

United States Bankruptcy Court for the: Soulhem Disirict of indiana

Case number 19~00252-JJG~13
iinmewn i:l cheek if this is en
amended filing

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 4/16

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

m Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

n i\/larried
Not married

2. During the last 3 years, have you lived anywhere other than where you live now?
No

n Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
m Same as Debtor 1 m Same as Debtor 1
pmm F rom
Number Street Number Street
To To
City State ZlP Code City State ZlP Code
l:] Same as Debtor1 m Same as Debtor1
From Fr°m
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communl'ty propeny states
and territories include Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No
l;] Yes. Make sure you t"lli out Schedule H.' Your Codebtors (Official Form 106l-l).

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

CaS€ 19-00252-.].](3-13 DOC 21 Filed O3/O4/19 EOD O3/O4/19 15243:47 PQ 35 Oi 46

Johnny Darreli Lorick Case number (,,known) 19-00252~JJG-13

First Name Middlc Name i_ast Name

M Expiain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

n No
Yes. Fill in the details

Debtcr 1

 

 

Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions and
exciusions) exclusions)
,, . . . .
From January 1 of Current year until Wages, commissions $ 4 615 39 m Wages, commissions $
th . _ bonuses, tips .._1__._'___.._._____ bonuses, tips
e date you filed for bankruptcy.
m Operating a business |:l Operating a business
Wa es commissions m Wa es commissions
For last calendar ear: g ’ ’ g ’ ‘
y bonuses tips $ 86,538.45 bonuses, tips $
(Janual'y 1 fO December 31, 2018 ) m Operating a business m Operating a business
YYYY
‘, . . _ .
For the calendar year before that: Wages’ Co_mm'$$‘°ns’ m Wage$’ co.mm'ss'°ns’
bonuses, tips $ 40 231 77 bonuses, tips $
(Januaryi 10 Dec€mb€|' 31i 2017 l m Operating a business ’ m Operatinga business
YYYY

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable Examples of other income are alimony; child support; Social Security, unemployment
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. if you are hling a joint case and you have income that you received together, list it only once under Debtor1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

m No
Yes. Fill in the details.

 

Gross income from Sources of income Gross income from

Sources of income
Describe beiow.

each source Describe below each source

 

 

 

 

 

 

 

 

(before deductions and (before deductions and
exciusions) exclusions)
From January1 of current $0`00
year until the date you $
filed for bankruptcy:
$ $
For last calendar years $ 0'00 $
(Januaryi to $ $
December31, 2018 ) $ $
For the calendar year 1099-R from Great~West Trust( $1,541~03
before that: 1099-R from Citibank, N.A. $4.314.59
(January 1 to US Federal income Tax Refund $5.705.00 $

 

December 31, 2017 )

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

CaS€ 19-00252-.].](3-13 DOC 21 Filed O3/O4/19 EOD O3/O4/19 15243:47 PQ 36 Oi 46

Debtor 1

First Name

Johnny Darreli l_orick
Mldd|e Name

Case number iirknewni 19'00252"]‘]6'13

Last Name

m List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

L_.] No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

m No. Go to line 7.

m Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

the total amount you paid that creditor. Do not include payments for domestic support obligations such as

child support and alimony Also, do not include payments to an attorney for this bankruptcy case

Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go to line 7.

L_..l Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditor's Name

Dates of Total amount paid Amount you still owe
payment

 

Number

Street

 

 

City

State ZlP Code

 

Creditor's Name

 

Number

Street

 

 

City

State ZlP Code

 

Creditor’s Name

 

Number

Street

 

 

City

State ZlP Code

Was this payment for...

m Nloi'lgage

|:l Car

m Credit card

m Loan repayment
L_.] Suppiiers or vendors

m Other

m lvlortgage

m Car

l.:l credit card

E] Loan repayment
[:] Suppliers or vendors

L_.l other

m Mortgage

m Car

L_.] Credit card

m Loan repayment
m Suppliers or vendors

m Other

 

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 3

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 37 Of 46

Debto, 1 Johnny Darreli Lorick ease number (”kmn)19-00252-\}`}(5-13

First Name Middle Name Last Name

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
/ns/ders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. lnclude payments for domestic support obligations,
such as child support and alimony

No
l:l Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
lnsider's Name l
§
l
Number Street
City State ZlP Code
$ $

 

lnsider’s Name

 

Number Street

 

 

City State ZlP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

 

 

 

 

 

an insider?
include payments on debts guaranteed or cosigned by an insider.
No
n Yes. List all payments that benefited an insider.
Dates of Total amount Amount you still Reason for this payment
Paymem pa'd owe include creditor's name
, , $ $
insiders Name
Number Street
City State ZlP Code
$ $

 

|nsider‘s Name

 

Number Street

 

 

City o o_ __ State ZlPrC<,>de…,

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 38 Of 46

Debtor1 Johnny Darreli Lorick Casenumbermmm19-00252-JJG-13

First Name Mddle Name Last Name

m identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

and contract disputes

n No
Yes. Fiii in the detaiis.

 

 

 

 

 

Nature of the case Court or agency Status of the case
_ _ re Just for Men Cases Persona| lnjury Product Liability 7
Case t'“e~ Class Action; Date liled: Southern District ot illinois District Court P d.
06/23/2016 court Name en mg
m On appeal
' 750 l\/lisscuri Avenue
§Number Street n Concluded
Benton lL 62812
Case number 3:16-cv-00638-DRH ;city state ziP code
Harrison nidge Neighbo`rhood `coiiection; Date iiieti; 08/08/2018 ` " "
Association, lnc. vs. Johnny Lorick f Marion County Superior Court # 3 n pendin
Case title' §Cmm Name g
' j; m 0n appeal
§ City County Bui|ding W-406
iNumber Street COnClUded
indianapolis iN 46204

 

49D03-1808-CC-031320 §Cily State ZlP Code

Case number
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

E] No. co to line 11.
Yes. Fill in the information below.

 

 

 

 

 

 

Describe the property Date Value of the property
'F`oreclosure on Debtor"s residence v " l `
Colonial National l\/lortgage 05/19/2017 $ O~OO
Creditor's Name __
a Division Or Colonial Savings’ FA ,,,,,,,,,,,,,,,,,,,,,,,,,,
Number Street Explain what happened
rt .
PO BOX 2988 n Prope y was repossessed
Property was foreclosed.
L_.] Pro ert was arnished.
Fort worth TX 76113 p y g g _
city State zip Code [;l Property was attached, seized, or levied.
Describe the property Date Value of the property
$

 

 

Creditor's Name

 

N b St t 7
um er fee Explain what happened

[:] Property was repossessed,

m Property was foreclosed

E] Property was garnished.

l:] Property was attached, seized, or levied.

 

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 5

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 39 Of 46

Johnny Darreli Lorick Case number mem 19~00252-JJG-13

First Name Midclle Name Last Name

Debtor 1

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

No
ill Yes. Fill in the details

Describe the action the creditor took Date action Amount
was taken

 

 

Creditor’s Name

 

Number Street

 

 

city state zlP code Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
m Yes

§m List certain cuts and contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
ill Yes. Fill in the details for each gift

 

 

 

 

 

 

 

Glfts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZlP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person § § § § the gifts
i $
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZlP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 40 Of 46

Debtor 1 Johnny Darreli Lorick Case number(”known) 19-()0252_JJG.13

First Name Midclle Name Last Name

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

No
m Yes. Fill in the details for each gift or contribution.

 

 

Gifts or contributions to charities Describe what you contributed l Date you Value
that total more than $600 contributed
_ t
Charlty’s Name
$

 

 

Number Street

 

City State ZlP Code

List Certain Losses

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

-No

EJ Yes. Fill in the details

Describe the property you lost and how Describe any insurance coverage for the loss Date of your loss Value of property

the loss occurred _ _ _ § _ lost
include the amount that insurance has pald. List pending insurance

claims on line 33 of Schedu/e A/B: Property.

 

 

List Certain Payments or Transfers

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any aitorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy

C] No
Yes. Fill in the details

Description and value of any property transferred Date payment or Amount of payment

i\/iike Norris & Associates, PC transfer was made

 

 

 

 

Person Who Was Paid Anomey fees " :
3802 west 96th street Suite 110 1221/2018 $ 4 000 00
Number Street ___________~ ....’..........'_~_
§ $ 0.00
t
indianapolis lN 46268
City State ZlP Code §

 

Email or website address

Debtor
Person Who Made the Payment, if Not You

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 41 Of 46

 

 

 

 

 

Debtor 1 Johnny Darreli Lorick Case number mknown) 19_00252_JJG_13
Firs\ Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment
Abacus Credit Counseling 'Credit Counseling §
Person Who Was Paid
1/10/2019 $ 24.99

 

17337 Ventura Blvd.
Number Street .'

 

 

 

Suite 205 $
Encino CA 91316 :
City State ZlP Code

 

Email or website address

Debtor
Person Who Made the Payment, if Noi You

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

NO
ij Yes Fill in ina details

Description and value of any property transferred Date payment or Amount of payment
§ transfer was made

 

Person Who Was Paid

 

Number Street

 

 

 

City State ZlF' Code

18. Within 2 years before you filed for bankruptcy, did you seli, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement
No
El Yes Fill in tire details

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transler

 

Number Street

 

 

City State ZlP Code

Person's relationship lo you

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

 

Person's relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 42 Of 46

Johnny Darreli Lorick Case number U,known) 19-00252-JJG-13

First Name Middle Name Last Name

Debtor 1

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

No
Cl Yes. l=lll in me details

Description and value of the property transferred Date transfer
was made

Name of trust

 

List Certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,

closed, soid, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,

brokerage houses, pension funds, cooperatives, associations, and other financial institutions

-No

Ei Yes. Fill in the details

 

 

 

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, soid, moved, closing or transfer
or transferred
Name of Financial institution
XXXX- EChecking $
Number Street Savmgs
EMoney market
[]Brokerage
City State ZlP Code Eother
XXXX- EOhecking $
Name of Financial institution E
Savings
EMoney market

 

Number Street

EBrokerage
mother

 

 

City State Z|P Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other vaiuabies?
No

Ci ves. Fill in the deiails.

 

 

 

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
~ have it?
|:] No

Name of Financial institution Name Yes
Numbe' S"eet Number Street
clly stale zlP code
§
City State ZlP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

CaS€ 19-00252-.].](3-13 DOC 21 Filed 03/04/19 EOD 03/04/19 15243:47 PQ 43 Of 46

Debtor 1 Johnny Darreli Lorick case number iiiknawni 19'00252‘\]~’6'13

 

 

First Name Middie Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
ill Yes Fill in the details

 

 

Who else has or had access to it? Describe the contents
Name of Storage Faciiity Name
Number Street Number Street

 

CityState ZlP Code

 

 

City State ZlP Code

mdentify Property You Hoid or Control for Someone Eise

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

NO
[:] Yes Fill in the details
Where is the property? Describe the property

 

Owner’s Name

 

Number Street

 

Number Street

 

 

 

City State ZlF Code

 

City State ZlP Code

 

Give Details About Environmental information

 

For the purpose of Part 10, the following definitions apply:

§ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,

including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Do you still
have it?

l L__INo
§ I:]Yes

Value

n Site means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or utilize

it or used to own, operate, or utilize it, including disposal sites.

a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report ali notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

 

 

N<>
a Yes. Fill in the details.
Governmental unit Environmental law, if you know it
Name of site Governmental unit
Number Street Number Street
City State ZlP Code

 

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

Date of notice

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Johnny Darreli Lorick Case number (ifmwn) 19-00252-JJG-13

First Name Middle Name Last Name

Debtor 1

25. Have you notified any governmental unit of any release of hazardous material?

No
E] Yes Fill in the details

 

 

 

Governmentai unit Environmental iaw, if you know it Date of notice
Name of site Govemmental unit
Number Street Number Street
_____________
City State ZlP Code

 

 

City State ZlP Code

26. Have you been a party in anyjudicial or administrative proceeding under any environmental law? include settlements and orders.

-No

El Yes. Fill in the details
Status of the

Court or agency Nature of the case case
Case title
Court Name m Pending
m 0n appeal
Number Street m ConCluded

Case number ----_~._.___..___......_
City State ZlP Code

m Give Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
i:] A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
m A member of a limited liability company (LLC) or limited liability partnership (LLP)
l_:] A partner in a partnership
[] An officer, director, or managing executive of a corporation

I:] An owner of at least 5% of the voting or equity securities of a corporation

No. None of the above applies. Go to Part 12.
n Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number
Do not include Social Security number or lT|N.

 

Business Name

ElN: -_______________~_

 

Number Street
Dates business existed

Name of accountant or bookkeeper

 

§ From To

 

City aim Z'P C°d° l l l , t ., t ,l , l, ., … ,,
Describe the nature of the business Employer identification number
Do not include Social Security number or |T|N.

 

Business Name

ElN: -__________._.

 

Number Street
Dates business existed

Name of accountant or bookkeeper

 

From To

 

 

City State ZlP Code

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Debtor1 Johnny Darreli Lorick Case number (,,k,,aw,,, 19-00252-JJG-13

First Name Middie Name Last Name

Describe the nature of the business Employer Identification number
` Do not include Social Security number or lTiN.

 

Business Name

 

 

ElN:______-_____________________
Number Street Dates business existed
Name of accountant or bookkeeper Fr°m To

 

 

City State ZlP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
lnstltutions, creditors, or other parties.

|:lNo

l:l ves Fill in the details belew.

Date issued

 

Name m

 

Number Street

 

 

City State ZlP Code

m Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result' in fines up to $250, 000, or imprisonment for up to 20 years, or both

18 U. S. C. §§ 152, 1341, 1519,' and 3571.

   

 

S`ignature}<;f~Debtor 1 Signature of Debtor 2
ssi " pace 03/04/2019 pate
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy(Official Form 107)?
n No
Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

No
m Yes. Name of person , Attach the Bankruptcy Petition Preparer's Notice,
Dec/arat/'on, and Signature (Officiai Form 119).

 

 

 

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Johnny Darrell Lorick 19-00252-JJG-13
Debtor 1 Case number (/fknown)

 

First Name Middle Name Lasl Name

Continuation Sheet for Official Form 107

9) Lawsuits

Case Title: Colonial National Mortgage, a Division of Colonial Savings, FA v.
Johnny D Lorick aka Johnny Lorick, Mei Hsiang Lorick, Automotive Finance

Corporation, et al

Case Number: 49DO6-1706-MF-024101

Court Name: Marion County Superior Court #6

Court Address: City-County Building, W~542, Indianapolis, IN 46204

Case Status: Concluded

Nature of the case: Foreclosure: Foreclosure on Debtor's residence; Date

filed: 06/19/2017

Official Form 107 Statement of Financial Affairs for individuals

